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                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )   Case No. 22-cr-14-APM
                                                 )
JONATHAN WALDEN,                                 )


                                             MOTION TO WITHDRAW

          Comes now Thomas J. Spina (SPI004), counsel in the above styled cause and

respectfully requests this Honorable Court to entertain this motion and thereafter enter an

order allowing undersigned counsel to withdraw from further representation of the

defendant herein. As grounds for this motion, undersigned counsel would show as follows:

          1.        As the Court is well aware, undersigned counsel represented this defendant

alongside co-counsel, Ed MacMahon in this matter since this defendant’s arrest in Alabama

and all subsequent proceedings.

          2.        Mr. McMahon died recently and this defendant made it clear to undersigned

counsel that he no longer desired for undersigned counsel to continue as his trial counsel.

          3.        Defendant has retained David W. Fisher as substitute counsel. Mr. Fisher has

filed an Entry of Appearance on behalf of the defendant.

          4.        This matter is set for status conference via zoom hearing on April 7, 2023 and

undersigned counsel will appear at that time as well as substitute counsel, unless the Court

advises otherwise.

          WHEREFORE, PREMISES CONSIDERED, undersigned counsel respectfully requests

this Honorable Court to entertain this Motion and thereafter enter an order consistent with

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the request made herein and for such other and further relief to which he may be entitled.

                                                              Respectfully submitted,




                                                              /s/ Thomas J. Spina
                                                              Thomas J. Spina
                                                              Attorney for Defendant
                                                              State Bar #4959-N77T
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                                                              Birmingham, Alabama 35205
                                                              Telephone: (205) 939-1330
                                                              TommySpina@bellsouth.net


                                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
attorneys of records.


                                                              /s/ Thomas J. Spina
                                                              Thomas J. Spina




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